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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                                     CASE NO. 4:19-cr-00341

v.

JOSE M. GONZALEZ-TESTINO,

      Defendant.
______________________________//

               DEFENDANT, JOSE M. GONZALEZ-TESTINO’S
      UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL MOTION FOR
                 CHANGE OF CONDITIONS OF RELEASE

         Defendant, Jose Manuel Gonzalez-Testino, respectfully files this unopposed motion to

leave to seal Gonzalez-Testino’s for Change of Conditions of Release, and proposed order granting

same. In support of this motion, counsel avers as follows:

         1.        The agreed motion and proposed order contains private, not-publically available

information.

         2.        Previously, a popular Venezuelan blog had reported that this Court granted Mrs.

Maria          Alejandra    Diaz’s    motions      to    travel    to    Madrid     and     London.

https://www.maibortpetit.info/2020/03/juez-estadounidense-aprueba-liberar-los.html.

         3.        Mr. Gonzalez-Testino has reason to be, and continues to be, concerned that his and

his family’s safety will be compromised if the agreed motion and order are made public.

         4.        This Court previously granted motions to seal docket entries which contained

private information, e.g. DE 86 and DE 68, for the same purpose.




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         WHEREFORE, Defendant Jose Manuel Gonzalez-Testino moves this Honorable Court to

seal Mr. Gonzalez-Testino’s Agreed Motion for Change of Conditions of Release and proposed

order filed simultaneously herewith.

                             CERTIFICATE OF CONFERENCE

         The undersigned counsel of record for the Defendant, Jose Manuel Gonzalez-Testino,

hereby certifies that he has conferred with DOJ Trial Attorney Sarah Edwards who states that she

has no objection to this motion.

                                            Respectfully submitted,

                                            JONES WALKER LLP
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                                            /s/ Edward R. Shohat
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                                            /s/ Jon A. May
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                                            Email: jmay@joneswalker.com
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY on this 30th day of December, 2020, I caused to be electronically

filed the foregoing document with the Clerk of the Court using CM/ECF. I also certify the

foregoing document is being served this day on all counsel of record either via transmission of

Notices of Electronic Filing generated by CM/ECF or in another authorized manner for those

counsel or parties not authorized to receive electronically Notices of Electronic Filing.


                                                      /s/ Edward R. Shohat
                                                      _____________________________
                                                      EDWARD R. SHOHAT




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